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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

 ERENTON STEPHENS,

        Plaintiff,
                                                                  CIVIL ACTION NO.
 v.

 WASTE MANAGEMENT INC. OF
 FLORIDA,

        Defendant.


                                      NOTICE OF REMOVAL

                  Defendant, Waste Management Inc. of Florida (“Defendant”), by and through the

 undersigned counsel and pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, hereby removes this

 action from the Circuit Court of the 11th Judicial Circuit in and for Miami-Dade County, Florida,

 where the action is now pending, to the United States District Court for the Southern District of

 Florida, on the grounds of federal question jurisdiction. The removal of this action is based upon

 the following:

                                     PROCEDURAL HISTORY

        1.        On March 9, 2021, Plaintiff, Erenton Stephens, filed the instant action against

 Waste Management Inc. of Florida in the Circuit Court of the 11th Judicial Circuit, in and for

 Miami-Dade County, Florida, styled Erenton Stephens v. Waste Management Inc. of Florida,

 Case No. 2021-004864-CA-01.

        2.        Plaintiff’s Complaint alleges national origin and race discrimination in violation of

 the Florida Civil Rights Act (“FCRA”) and seeks damages under Title VII of the Civil Rights Act

 of 1964 (Title VII) and/or other federal laws.

        3.        Defendant was served with the Summons and Complaint on May 5, 2021.
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                                   GROUNDS FOR REMOVAL

        4.       The State Court action is within the original federal question jurisdiction of the

 United States District Court pursuant to 28 U.S.C. §1331, because Plaintiff has referenced and

 implicated Title VII as part of his claim. This Court has supplemental jurisdiction over Plaintiff’s

 Florida Civil Rights Act claim pursuant to 28 U.S.C. § 1367(a).

        5.       Defendant was served with a copy of the Complaint and Summons in the State

 Court Action on May 5, 2021. This constituted Defendant’s first legal notice of the State Court

 Action for purposes of removal. Thus, this Notice of Removal is timely filed pursuant to 28 U.S.C.

 § 1446(b), within thirty-days (30) from the date on which Defendant received notice of the State

 Court Action.

        6.       This case is one that may be removed to this Court pursuant to 28 U.S.C. §§ 1441

 and 1446.

        7.       The District and Division where this action is pending is the United States District

 Court for the Southern District of Florida, Miami Division, and Defendant properly seeks to

 remove this action to this Court. See 28 U.S.C. § 1441(a).

        8.       A true and correct copy of all process, pleadings, orders and other papers or exhibits

 of every kind currently on file in the State Court Action are attached hereto as Composite Exhibit

 “A,” as required by 28 U.S.C. § 1446(a).

        9.       Pursuant to 28 U.S.C. § 1446(d), Defendant will promptly file a copy of this Notice

 of Removal in the Circuit Court of the 11th Judicial Circuit in and for Miami-Dade County,

 Florida, and simultaneously provide written notice of the filing of this Notice of Removal to

 Plaintiff (Exhibit “B”) as reflected by the Certificate of Service.




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 Dated: June 4th, 2021                     Respectfully submitted,



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                                           Attorneys for Defendant




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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 4th day of June 2021, a true and correct copy of the

 foregoing was electronically filed and served via transmission of Notice of Electronic Filing

 generated by CM/ECF on all counsel or parties of record on the Service List below, and also via

 any additional manner noted below.

                                            /s/ Patrick G. DeBlasio, III
                                            Patrick G. DeBlasio, III


                                       SERVICE LIST


  ATTORNEYS FOR PLAINTIFF                           ATTORNEYS FOR DEFENDANT

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